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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 VINCENT MILES,                                )
                                               )
                       Plaintiff,              )
                                               )
 vs.                                           )   Case No. 3:18-CV-254-NJR-MAB
                                               )
 VENERIO SANTOS, EMILY BREWER,                 )
 and LISA KREBS,                               )
                                               )
                       Defendants.             )

                         MEMORANDUM AND ORDER

BEATTY, Magistrate Judge:

       This matter is currently before the Court on Plaintiff’s Motion for Recruitment of

Counsel (Doc. 42), Motion for Leave to File First Amended Complaint (Doc. 43), and

“Motion to Understand This Courts Decisions” (Doc. 49).

Motion for Recruitment of Counsel (Doc. 42)

       “When confronted with a request under § 1915(e)(1) for pro bono counsel, the

district court is to make the following inquiries: (1) has the indigent plaintiff made a

reasonable attempt to obtain counsel or been effectively precluded from doing so; and if

so, (2) given the difficulty of the case, does the plaintiff appear competent to litigate it

himself?” Pruitt v. Mote, 503 F.3d 647, 654–55 (7th Cir. 2007).

       This is Plaintiff’s second motion for recruitment of counsel. The first motion was

filed along with his complaint (Doc. 3). In that motion, he represented that “no attorney

has responded to my request for legal assistance/representation” (Doc. 3). But Plaintiff

did not identify which attorneys he contacted, how many attorneys he contacted, nor did



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he attach the letters that he sent to these attorneys (see Doc. 3; Doc. 9). Consequently,

Plaintiff’s first motion was denied because he had not demonstrated that he made a

reasonable attempt to acquire counsel without Court intervention (Doc. 9).

       In his second motion for recruitment of counsel, Plaintiff states that before he filed

his complaint, he “forwarded packets of medical documentation . . . along with letters of

explanation and counsel requests. To date such presentations were met with no

professional [courtesy] of rejection or return of medical documentation” (Doc. 42). Once

again, Plaintiff fails to provide any details regarding his efforts to retain counsel and

therefore the Court is unable to meaningfully assess whether he has made an objectively

reasonable attempt to obtain counsel. Consequently, Plaintiff’s motion for recruitment of

counsel (Doc. 42) is denied.

       Should Plaintiff choose to renew his motion for recruitment of counsel, he must

include in the motion the name and addresses of at least three attorneys he has contacted,

and, if available, attach the letters he sent to the attorneys.

Motion for Leave to File First Amended Complaint (Doc. 43)

       Following the Court’s threshold review of Plaintiff’s original complaint pursuant

to 28 U.S.C. § 1915A, Plaintiff was permitted to proceed on an Eighth Amendment claim

that Defendants were deliberately indifferent to his serious medical needs involving

degenerative arthritis and pain associated therewith in violation of the Eighth

Amendment (Doc. 7). Specifically, Plaintiff alleged that Nurse Brewer allegedly

prescribed Plaintiff basic pain medication despite being told that it would be insufficient

to treat his pain, instead of seeing to it that Plaintiff received the care he needed from



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someone capable of prescribing the appropriate medication (Doc. 7). Plaintiff similarly

alleged that Dr. Santos persisted in a course of treatment that was not effective for treating

Plaintiff’s pain, despite being informed by Plaintiff what would and would not work

based on his past treatments (Doc. 7). As for Lisa Krebs, the Health Care Administrator,

Plaintiff alleged that he wrote letters to her about the deficient care he was receiving but

she apparently deferred to Dr. Santos’s decisions without further inquiry (Doc. 7).

         On December 27, 2018, Plaintiff submitted a proposed amended complaint, which

was docketed as a motion for leave to file an amended complaint (see Doc. 43). In the

amended complaint, Plaintiff seeks to add new factual allegations regarding the medical

care he received both before and after he filed his lawsuit in an effort to bring the

pleadings in line with the knowledge he has learned from discovery to date. He does not

seek to add any new defendants. Although Plaintiff purports to add two new claims, as

Defendants point out (Doc. 44), they are not actually new claims. Rather, Plaintiff is

simply expanding his existing deliberate indifference claim to allege not only that the

medications prescribed were ineffective at treating his pain, but also that they worsened

his liver disease, which was initially brought on by Hepatitis B.

         Given that Plaintiff does not seek to add any new claims or parties, his motion is

governed by Rule 15, which provides that courts should “freely give leave

when justice so requires.” FED. R. CIV. P. 15(a)(2).1 A trial court, however, may deny a



1 If Plaintiff wanted to add new claims or parties, the Court would first consider whether “good cause” for
the amendment existed under Rule 16(b)(4) because his motion was filed after the September 21, 2018,
deadline for adding new claims or parties (Doc. 21). Adams v. City of Indianapolis, 742 F.3d 720, 734 (7th Cir.
2014) (citing Alioto v. Town of Lisbon, 651 F.3d 715, 719 (7th Cir. 2011)).



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motion for leave to amend where there is “undue delay, bad faith, dilatory motive,

repeated failure to cure deficiencies, undue prejudice to the defendants, or where the

amendment would be futile.” Arreola v. Godinez, 546 F.3d 788, 796 (7th Cir.2008).

       Here, Defendants assert that they would be prejudiced by an amendment because

they have already propounded written discovery to Plaintiff, and an amendment would

likely require additional discovery (Doc. 44). The Court is unconvinced by Defendants’

argument. Discovery has not yet closed and, while some additional discovery may be

required, there is no indication that it will be extensive. As such, the Court has no reason

to think Defendants will be unduly prejudiced by the amendment. Plaintiff’s Motion for

Leave to File First Amended Complaint (Doc. 43) is granted.

Motion to Understand This Court’s Decision (Doc. 49)

       This motion is granted. Magistrate Judge Donald Wilkerson was previously

assigned to this case along with District Judge Nancy Rosenstengel. Magistrate Judge

Wilkerson retired and therefore this case had to be reassigned to another Magistrate

Judge. It is now assigned to Magistrate Judge Mark Beatty and District Judge Nancy

Rosenstengel. The reassignment is an administrative matter and Plaintiff need not take

any action.

                                       CONCLUSION

       Plaintiff’s Motion for Recruitment of Counsel (Doc. 42) is DENIED. Plaintiff’s

Motion for Leave to File First Amended Complaint (Doc. 43) is GRANTED. The Clerk of




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Court is DIRECTED to file Plaintiff’s submission and title it “First Amended Complaint.”

Plaintiff’s Motion to Understand This Court’s Decision (Doc. 49) is GRANTED.



      IT IS SO ORDERED.

      DATED: February 12, 2019

                                               s/ Mark A. Beatty
                                               MARK A. BEATTY
                                               United States Magistrate Judge




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